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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------x
                                    :
UNITED STATES OF AMERICA            :
                                    :
          - v. -                    :          15 Cr. 856 (VEC)
                                    :
ARTUR MELENTIN                      :
                                    :
                Defendant.          :
                                    :
------------------------------------x




                       SENTENCING MEMORANDUM
                      ON BEHALF OF ARTUR MELENTIN




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Dated: May 16, 2016
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                                      PRELIMINARY STATEMENT

         We respectfully submit this Memorandum on behalf of our client, Artur Melentin

(“Artur”), in connection with the sentencing proceeding scheduled for May 23, 2016. On

January 11, 2016, Artur pleaded guilty to an Information charging him in one count with failing

to file Reports of Foreign Bank and Financial Accounts (“FBARs”) in tax years 2010 and 2011,

in violation of 31 U.S.C. §§ 5314, 5322. Artur has complied with all of the terms of his plea

agreement. 1

         As set forth in more detail below, we respectfully submit that a noncustodial sentence

would be just and appropriate in the circumstances of this individual and this case. The

Probation Department, after reviewing the matter in depth and interviewing Artur, has

recommended the same. See Presentence Report (“PSR”), at 26. Such a sentence would serve

all of the relevant purposes of sentencing in the circumstance presented and, importantly, allow

Artur, who has accepted responsibility for his conduct and is determined to conduct himself

honorably and lawfully, to continue uninterrupted his productive business endeavors, which

provide employment to many, and his significant contributions to the community. 2

I.       A NON-CUSTODIAL SENTENCE IS WELL WARRANTED UNDER 18 U.S.C. §
         3553(a)

         A.       Applicable Legal Standards

         Following the Supreme Court’s decision in United States v. Booker, 543 U.S. 220 (2005),

it is “emphatically clear that the Guidelines are guidelines – that is, they are truly advisory.”



1
         In accordance with the plea agreement, this week, Artur will file amended personal tax returns for 2010,
2011, and 2012, and pay $71,369 in taxes and interest to the IRS. The plea agreement also provides for payment of
a civil FBAR penalty of $50,279.55, see 31 U.S.C. § 5321(a)(5)(C), within two weeks of sentencing. We
respectfully request that the Court order the release of $50,000 that is currently held as security for the $250,000
personal recognizance bond in this case to allow Artur to put such sum toward payment of this civil FBAR penalty.
2
         Artur has no criminal history.
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United States v. Dorvee, 616 F.3d 174, 183 (2d Cir. 2010) (quoting United States v. Cavera, 550

F.3d 180, 189 (2d Cir. 2008) (en banc). Although the Guidelines are to be given “fair

consideration” “before imposing” a sentence, “in the end, [the Court] must make an

‘individualized assessment’ of the sentence warranted by § 3553(a) ‘based on the facts

presented.’” United States v. Jones, 531 F.3d 163, 170 (2d Cir. 2008) (citations omitted); see

also Pepper v. United States, 562 U.S. 476, 487 (2011) (“It has been uniform and constant in the

federal judicial tradition for the sentencing judge to consider every convicted person as an

individual and every case as a unique study in the human failings that sometimes mitigate,

sometimes magnify, the crime and the punishment to ensue.”) (internal quotations and citations

omitted). Concerning this individualized assessment, “[t]he Guidelines are not only not

mandatory on sentencing courts; they are also not to be presumed reasonable.” Nelson v. United

States, 555 U.S. 350, 352 (2009) (emphasis in original). Indeed, the Court “may vary [from the

Guidelines range] based solely on policy considerations, including disagreements with the

Guidelines.” Kimbrough v. United States, 552 U.S. 85, 101 (2007) (quotations and citations

omitted); Gall v. United States, 552 U.S. 38, 47 (2007) (court need not find “extraordinary

circumstances to justify a sentence outside of the Guidelines range”).

       Under § 3553(a), the Court must impose a sentence that is “sufficient, but not greater

than necessary to comply with the specific purposes set forth at 18 U.S.C. § 3553(a)(2).” Dorvee,

616 F.3d at 182; see also United States v. Ministro-Tapia, 470 F.3d 137, 142 (2d Cir. 2006)

(“[I]f a district court were explicitly to conclude that two sentences equally served the statutory

purpose of § 3553, it could not, consistent with the parsimony clause, impose the higher [one].”).

In doing so, Congress required consideration by the Court of (1) the nature of the offense and the

history and characteristics of the defendant; (2) the purposes of sentencing, described in


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§3553(a)(2) as (a) the need to reflect the seriousness of the offense, promote respect for the law,

and provide just punishment; (b) the need to afford adequate deterrence to criminal conduct; (c)

the need to protect the public from future criminal conduct by the defendant; and (d) the need to

provide the defendant with needed educational or vocational training, medical care, or other

correctional treatment in the most effective manner; (3) the kinds of sentences available; (4) the

Guidelines and their policy statements; (5) the need to avoid unwarranted sentencing disparities

among defendants with similar records who have been found guilty of similar conduct; and (6)

the need to provide restitution. 18 U.S.C. § 3553(a).

        As discussed below, a thorough consideration of these factors well warrants a non-

custodial sentence in this case. See PSR at 26 (“In evaluating the nature and circumstances of

the offense, as well as the history and characteristics of the defendant, we believe that a term of

custody would be greater than necessary to meet the ends of sentencing.”).

        B.       History and Characteristics of the Defendant

                 1.       Artur, a Recent Immigrant, Has Built a Successful Business Employing
                          Dozens

        Artur was raised by his mother and stepfather 3 in Dnipropetrovsk, Ukraine, which is

approximately 230 miles southeast of Kiev, the capital of Ukraine. PSR ¶ 39. As his mother and

brother recount in letters to this Court submitted with this Memorandum, see Exs. 3-4 4, Artur

excelled in his studies at school and participated in several national competitions known as

Olympiads in the sciences and linguistics. See Exs. 3-4. As a result, he was invited to attend

Lyceum of Information Technologies, a prestigious school in Ukraine for talented students. See



3
        Artur has had no contact with his biological father since he was about two years old. PSR ¶ 38.
4
        The letter from Artur’s mother, Viktoria Sytnik, which is attached as Exhibit 3, was translated by Artur
from Russian to English.

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Ex. 3. After graduating, Artur attended Kiev National Economic University, earning an MBA in

marketing in 2005. PSR ¶¶ 52-53.

       While studying for his MBA, Artur worked freelance in website and logo design and

HTML programming for companies in Ukraine, Russia, France, Israel, and the United States. In

2006, he secured a job with Global Advertising Strategies (“GAS”) in New York. At GAS,

Artur quickly became highly productive, contributing to the creative development and

implementation of digital marketing campaigns for, among other companies, Lufthansa,

MoneyGram, and Vonage.

       In August 2008, Artur, with two colleagues, decided to start their own business. They

founded Findr Interactive (“Findr”), a digital advertising agency that would specialize in website

and mobile application development and the creation of online media and social marketing

campaigns. See PSR ¶ 57. Later, Artur and others formed two additional companies, Gravity

Media (“Gravity”), which specializes in developing and managing multi-cultural advertising

campaigns, and Triomphant Communications (“Triomphant”), a public relations firm that assists

businesses with reputational and crisis management. See id.

       Today, these three companies (collectively, the “Findr Group”) together employ more

than forty-five people. See Ex. 5. Findr Group’s clients have included Comcast, Dish Network,

Prudential, DirectTV, Caesars Entertainment, and BlueCross BlueShield. The companies’ work

has already garnered industry accolades. In 2014 and 2015, for example, Advertising Age

named Findr Group the number one cultural agency.

       Findr Group has also performed work for public sector clients. For example, the

company, to aid the U.S. Army in its efforts in Afghanistan, assisted the Army in developing an

award-winning advertising campaign to recruit cultural interpreters in Pashto, Dari, and Farsi.


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       Artur serves as the Chief Creative Officer of Findr Group. His responsibilities include

management of the creative/development team, developing marketing strategies, business

development, and managing Findr Group’s IT infrastructure. He is the central creative force

behind Findr Group’s success. As explained by Lillian Laskin, a managing partner of Gravity,

Artur is “integral” to the business; his “vision and passion has been a key driver on the

company’s growth.” Ex. 5.

                 2.     Artur’s Commitment to his Family

       As Artur’s business and personal lives have developed in the United States, he has

remained committed and devoted to his family in Ukraine. As his mother notes, Artur has been

steadfast in supporting his family financially and emotionally in a time of economic devastation

and military conflict in Ukraine. See Ex. 3; see also Ex. 2. Late last year, Artur flew his parents

to Paris and met them there. As his mother recalls, this was the first time she had ever

vacationed outside of Ukraine. See id. Artur has also been a role model to his younger half-

brother, Viktor, providing professional guidance and support, as Viktor works toward a career in

information security. See Ex. 4.

                 3.     Artur’s Contributions to Charity and Community

       Artur is grateful for the opportunities that the United States has afforded him, and has

contributed time and money to a number of community and charitable causes. Through Findr

Group, for example, he has provided pro bono services including the following:

             •   The development of a social media campaign for Safe Horizon, which is the
                 largest non-profit victim services agency in the United States providing assistance
                 to victims of domestic abuse, sexual abuse, and human trafficking;

             •   The planning of events and strategic consulting for Vital Voices Global
                 Partnership (“VVGP”), an organization that identifies, trains and empowers
                 emerging women leaders; and


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             •   The design of promotional materials for Gay Men’s Health Crisis, a leading
                 provider of HIV/AIDS prevention, care and health care advocacy.

Artur’s commitment to charity and civic good works is a repeat subject of comment in the letters

submitted by friends and colleagues. Monique Tapie, Artur’s friend and partner in Triomphant,

writes, for example, as follows:

         In addition to our paid clients, our work also focuses on philanthropic areas in support of
         two particular organizations. The first being the Fresh Youth Initiative, an organization
         that leads in helping immigrant and bicultural youth from distressed communities in NYC
         succeed in their transition and most importantly their education. The second being Safe
         Horizon, the leading organization in NYC combatting domestic violence, human
         trafficking and LGBT teen homelessness.

         Albeit, Mr. Melentin and I work on a variety of client needs, the most important has been
         our voluntary work in the areas of youth development and with Safe Horizon. Artur has
         always tirelessly given of his time and skill to support all of which he has been
         approached with. Not having him do so in our work with Safe Horizon would negatively
         impact the preparations and campaign work to be rolled out during Domestic Violence
         month in October. The issue of domestic violence is personal to both Artur and I and his
         presence, participation and work is invaluable to the success of our overall efforts.

         What has impressed me the most is that through this challenging time, whereas the stress
         of his current legal situation has caused him sleeplessness, weight loss, self-guilt and
         sadness, Artur has never floundered in his support of our work for the organizations we
         support. In addition, he continues to be fully active in the causes he has long taken part
         in - for this is who he truly is. The legal situation for which he holds himself accountable
         has truly taken its toll, yet unlike many he continues to forge on with what is also
         imperative to life and that is the work we do.

Ex. 6.

         William Radin, a close friend, describes Artur’s community involvement as follows:

         Artur takes his civic responsibility as an American seriously and actively participates in
         government, including advocating for legislative change in support of LGBT rights via
         LAMBDA Legal. Additionally, Artur has devoted his time to the advancement of
         numerous charitable causes. In particular, he has given time and support to groups
         championing human rights and services for the LGBT community, NY Anti-Violence
         Project, the Stonewall Foundation, and the Trevor Project, which has as its mission
         suicide prevention. I have personally worked with Artur in fundraising efforts for
         charities promoting blood cancer research and treatment, and housing for at risk
         populations.


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Ex. 7.
         Artur’s public-spirited disposition is further echoed in a letter from Nancy Prager-Kamel,

the U.S. National Commissioner for United Nations Educational, Scientific and Cultural

Organization and the main representative of VVGP to the United Nations. Ms. Prager-Kamel

describes Artur’s gracious offer of services in connection with a VVGP event honoring Vice

President Biden. See Ex. 8; see also Ex. 9 (Letter from John Westfall-Kwong).

         Artur’s community service and charitable works merit substantial consideration in the

balance of sentencing factors. 5

                  4.       Artur’s Devotion to Friends

         Artur’s acts of kindness extend beyond his contributions of time and money to charities

and community. He has also been a true friend to many, always ready to help when needed.

Brian Friedman, Artur’s friend, describes two such examples of Artur’s generosity:

         When our mutual friend, Matt, was diagnosed with colon cancer at the same time that he
         lost his apartment, Artur opened his home to house Matt and provided whatever
         additional support Matt needed. When Matt was in recovery, having just completed
         radiation treatment, Artur and I alone took Matt to celebrate his birthday; Artur assumed
         the lead to ensure that it was a very special experience at his favorite Russian home-
         cooking restaurant.

         When another friend, battling alcohol abuse, required an intervention, Artur was one of
         two friends who joined me to support our friend. Artur offered his own therapist and
         provided incredible emotional and logistical support that enabled our friend to begin to
         recover.

5
         See United States v. Adelson, 441 F. Supp. 2d 506, 513-14 (S.D.N.Y. 2006) (“As these examples attest,
Adelson’s good deeds were not performed to gain status or enhance his image. Most of them were unknown to all
but a few people until the time of his sentencing. But, surely, if ever a man is to receive credit for the good he has
done, and his immediate misconduct assessed in the context of his overall life hitherto, it should be at the moment of
his sentencing, when his very future hangs in the balance.”); see also United States v. Canova, 412 F.3d 331, 358-59
(2d Cir. 2005) (affirming downward departure based on defendant’s extraordinary good works); United States v.
Howe, 543 F.3d 128, 137-38 (3d Cir. 2008) (affirming sentence of probation with three months home confinement
for wire fraud when advisory guidelines range was 18-24 months because defendant made an isolated mistake in the
context of his entire life, including devotion to family, community and church); United States v. Thurston, 544 F.3d
22, 26 (1st Cir. 2008) (affirming three-month sentence for Medicare fraud conspiracy of more than $5 million based
on, among other things, defendant’s charitable work, community service, generosity with his time and support and
assistance of others).


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Ex. 10. Artur’s close friend, Dovile Drizyte, also describes how Artur provided indispensable

support to her at a time when she was endeavoring to escape an abusive marriage:

          I have been living in an abusive relationship for a while and if not for Artur’s help and
          support I would have never been able to leave what was a true nightmare. My soon to be
          ex-husband was a violent individual with deeply rooted psychological problems as well
          as addiction to substance and I cannot count how many times Artur came to save me,
          offered me his home, financial and moral support. It is by virtue of his generosity, after I
          was forced to leave my home, I have a roof over my head, as I have been living at his
          residence since August, 2015. He also guided me through this most difficult time of my
          life, kept my hope that there’s a brighter future, alive. His encouragement of seeing
          psychological and legal help was indeed crucial. Even though he was going through this
          extremely stressful and challenging moment in his life, he found strength to carry us both
          through. I would have not survived if Artur was not there for me.

Ex. 11.

                 5.      Remorse

          The letters from Artur’s friends and family communicate that Artur’s failure to file

FBARs in 2010 and 2011 stands in stark contrast to the life he has led and the ethical standards

he has set for himself. This clash of his standards with his conduct in this case has caused Artur

remorse and shame. As Mr. Radin describes:

          As a friend, it has been painful to see what these proceedings have done to Artur. A
          normally social and accessible individual, Artur has become increasingly withdrawn from
          public life. While still an active supporter of the aforementioned causes, his presence has
          diminished and there has been a reluctance to interact. Generally, there seems to be a
          fear of association, given this legal proceeding and its reputational impact. It is hard for
          me to see a person who helped and comforted others be so ostracized. From a business
          perspective, the stress of these proceedings have adversely impacted his performance and
          forced him into a leave of absence. Conversationally, many times, Artur has conveyed to
          me regret in his past choices and accepted full responsibility. It is clear to me that through
          this ordeal, Artur has learned a lot, endured a lot, and is very remorseful.

Ex. 7. Another close friend of Artur’s, Brian Delshad, observes as follows:

          Artur is the first person I would call on in a moment of hardship and uncertainty. His
          loyalty, companionship, and kindness as a friend cannot be quantified. Life for me, as for
          many of our mutual friends, would simply not be the same without his friendship. As one
          of his closest friends, I have watched him suffer gravely through this trouble with the

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          law. It’s as if he has been imprisoned, mentally, since the charges were raised against
          him. I can assure you that he is overwhelmed with remorse and wants to continue living
          a law abiding future. I plead with you to be merciful in his conviction.

Ex. 12.

          This case has taken an enormous toll on Artur. He deeply regrets his conduct, which he

views as an insult to the country that has offered him so many opportunities:

          Coming to this country opened the door to many opportunities for me. Through hard
          work, passion and dedication I was able to achieve quite a lot in the business world,
          especially within last couple of years. I was able to help my family financially since my
          very arrival here. I was able to help a lot of people around me. Standing stronger on my
          feet I have adopted charitable causes that I support through my work, personal time and
          contributions. I did achieve the “American dream” it seems. With my actions, however, I
          turned it into a nightmare.

          I deeply regret not reporting my foreign bank account. I am truly sorry for the burden I
          have imposed on Your Honor and this Country. Most of my friends and my entire family
          is aware of the situation. This stain deeply affected me on a psychological, personal and
          business levels. I am going through a learning curve to be able to function productively
          again and resume my business activities to the full extent and be of an assistance to this
          Country. This matter will, however, forever be a reminder of my poor judgment and how
          I betrayed a Country that has given me so much.

Ex. 2.


          C.     The Nature and Circumstances of the Offense

                 1.      Unreported Subject Account

          Artur had a beneficial interest in twenty-five percent (25%) of the funds in account

number CY58005002400002400753771401, held in the name Manueta Limited at Hellenic Bank

in Cyprus, and failed to disclose this account on FBARs for tax years 2010 and 2011. As

reflected in his plea of guilty, Artur has fully accepted responsibility for his offense.




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        In fulfilment of his plea agreement, this week, Artur will, with the assistance of a tax

specialist, file amended returns that will include payment for an additional $51,174 in taxes owed

to the IRS for years 2010 and 2011. 6

                 2.       That Thousands of Offshore Accountholders Have Received Immunity
                          From Prosecution Under DOJ Amnesty Programs Helps to Define the
                          Relative Seriousness of the Conduct

        Without minimizing the seriousness of Art’s failure to file FBARs, we respectfully

submit that the nature and relative seriousness of his offense should be viewed in the context of

how the United States has generally dealt with the phenomenon of unreported offshore accounts.

Specifically, tens of thousands of offshore accountholders, through amnesty programs, have

entered into civil resolutions to resolve open liability pertaining to FBAR violations – thus

avoiding criminal charges and the payment of a 50% civil penalty under 31 U.S.C. §

5321(a)(5)(C). The judgment made by the United States that in this arena it is appropriate to

employ amnesty programs rather than rely on criminal enforcement alone reflects the

government’s assessment both of the broad extent of historical non-compliance with the FBAR

requirement and the relative seriousness of the offense as compared to other criminal violations

        Before 2009, as documented in a report by the Secretary of the Treasury to Congress,

compliance by U.S. taxpayers with the FBAR reporting requirements was limited. 7 In 2009,


6
          The plea agreement also required Artur to file amended tax returns for 2012 and 2013, if applicable.
Artur’s 2013 tax return did not require amendment. Artur’s 2012 amended tax return will be filed this week, with
minor amendments, and $12,231 in taxes and $1,191 in interest for calendar year 2012 will be paid to the IRS.
Artur intends to file amended New York State tax returns upon his expected acceptance into New York State’s
Voluntary Disclosure Program. Such amended New York State tax returns will reflect an additional $584 in unpaid
taxes in 2010, $15,195 in unpaid taxes in 2011, and $3,590 in unpaid taxes in 2012.
7
         See A Report to Congress in Accordance with § 361(b) of the Uniting and Strengthening America by
Providing Appropriate Tools Required to Intercept and Obstruct Terrorism Act of 2001 (USA Patriot Act) (April 26,
2002), at 6, available at http://www.fincen.gov/news_room/rp/files/fbar.pdf (“Extrapolating from the limited
information available concerning the number of foreign bank and credit card accounts held by United States citizens,
the IRS estimates that there may be as many as 1 million U.S. taxpayers who have signature authority or control


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when UBS AG, Switzerland’s largest bank, entered into a deferred prosecution agreement with

the Government, UBS agreed to disclose to the government the names of U.S. taxpayers who

held offshore UBS accounts. 8 A month after announcement of the DPA, on March 23, 2009, the

Internal Revenue Service announced a formal offshore voluntary disclosure program (“OVDP”),

which allowed U.S. taxpayers with undisclosed foreign accounts to apply to resolve their liability

civilly. 9 The 2009 OVDP program was succeeded by a modified OVDP in 2011 10 and an open-

ended OVDP that began in 2012. 11 As of June 2014, under the program, more than 45,000

offshore accountholders have received immunity from prosecution in connection with the

OVDPs. 12

        That the Government has, as a policy matter, provided for amnesty for violators of the

FBAR reporting requirement places the offense in a category unlike virtually all other federal

criminal offenses. In the Court’s assessment of the relative seriousness of the instant offense,

we respectfully submit that this factor argues in favor of mitigation of sentence.




over a foreign bank account and may be required to file FBARs. Thus, the approximate rate of compliance with the
FBAR filing requirements based on this information could be less than 20 percent.”).
8
         See United States Department of Justice Offshore Compliance Initiative at http://www.justice.gov/tax/
offshore-compliance-initiative.
9
         See Memorandum from Linda E. Stin: Deputy Commissioner for Services and Enforcement, titled
“Authorization to Apply Penalty Framework to Voluntary Disclosure Requests Regarding Unreported Offshore
Accounts and Entities” (Mar. 23, 2009), available at http://www.irs.gov/pub/newsroom/memorandum authorizing
penalty framework.pdf.
10
       See Second Special Voluntary Disclosure Initiative Opens, IRS (Feb. 8, 2011), http://www.irs.gov/
newsroom/Article/0,,id=235695,00.html.
11
        See 2012 Offshore Voluntary Disclosure Program, https://www.irs.gov/uac/2012-Offshore-Voluntary-
Disclosure-Program.
12
         See FS-2014-6, IRS Offshore Voluntary Disclosure Efforts Produce $6.5 Billion; 45,000 Taxpayers
Participate, https://www.irs.gov/uac/Newsroom/IRS-Offshore-Voluntary-Disclosure-Efforts-Produce-$6.5-
Billion%3B-45,000-Taxpayers-Participate (June 2014).


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       D.       The Advisory Guidelines Calculation Overstates the Seriousness of the
                Offense

       The Guidelines calculation set forth in the plea agreement and adopted by the

Probation Department results in an adjusted offense level of 17 and criminal history category of

I, yielding an advisory Guidelines range of 24-30 months. This calculation and range result from

application of U.S.S.G. § 2S1.3. Section 2S1.3(a)(2) provides that the base offense level is “6

plus the number of offense levels from the table in § 2B1.1 (Theft, Property Destruction, and

Fraud) corresponding to the value of the funds.” The term “value of funds” is defined in

Comment 1 to “mean[] the amount of the funds involved in the structuring or reporting conduct.”

Section 2S1.3(c)(1), which applies here, provides that “[i]f the offense was committed for the

purposes of violating the Internal Revenue laws, apply the most appropriate guideline from

Chapter Two, Part T (Offenses Involving Taxation) if the resulting offense level is greater than

that determined above.”

       As recognized by the Probation Department, and as explained further below, it is

respectfully submitted that these Guidelines substantially overstate the seriousness of the offense

for two reasons, thus providing a strong basis for a substantial departure downward.

                1.     The “Value of Funds” Calculation in U.S.S.G. § 2S1.3(a)(2) Substantially
                       Overstates the Seriousness of the Offense Conduct

       Because, here, the “value of funds” under U.S.S.G. § 2S1.3(a)(2) is the maximum value

of the account, instead of the maximum value of Artur’s interest in the account, Artur’s offense

level is 17 instead of 13 solely because Artur’s money was held in a co-owned account in which

others also held money. This circumstance is not accounted for by the Guidelines, and results in

an over-statement of the severity of the offense.




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        By way of background, pursuant to 31 C.F.R. § 1010.350, and as described in Paragraph

7 of the PSR, the FBAR requires taxpayers to identify “the maximum value of the account

during the calendar year for which the FBAR is being filed.” PSR ¶ 7. For Guidelines purposes,

therefore, the “value of the funds” “involved in the structuring or reporting conduct” under

U.S.S.G. § 2S1.3(a)(2) is the maximum account balance during the calendar year that the FBAR

was required to be filed. Here, an FBAR filed on or before June 30, 2012, under this regime,

should have reported the maximum balance of the Manueta account in 2011, $402,236.40. This

maximum account balance gives rise to the 12-level increase under U.S.S.G. § 2B1.1(b)(1)(G).

See PSR ¶ 22.

        The Guidelines, however, do not account for the fact that Artur’s share of the

$402,236.40 maximum account balance in 2011 was 25%, or $100,559.10. If the offense had

rather involved an account owned by him at a foreign financial institution containing

$100,559.10, the resulting offense level (assuming the 2-level increase under U.S.S.G. §

2S1.3(b)(2) and the three-level downward adjustments under U.S.S.G. § 3E1.1) would be 13,

there would be an 8-level increase under U.S.S.G. § 2B1.1(b)(1)(E), and a Guidelines range of

12-18 months’ imprisonment. 13

        The Guidelines seek “proportionality in sentencing through a system that imposes

appropriately different sentences for criminal conduct of different severity[,]” Rita v. United

States, 551 U.S. 338, 349 (2007). Under this principle, no distinction should be drawn between

the holder of funds in a single account and the holder of the same quantum of funds in an



13
          In 2010, the FBAR that was not filed would have reflected a maximum balance of approximately $22,000,
25% of which (approximately $5,500) was owned by Artur. Because an FBAR filing is not required where the
relevant foreign account contains less than $10,000, Artur would not have been required to file an FBAR in 2010 but
for the fact that the money of others was also held in the account.


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account in which others also hold funds. Reflecting this concern, the IRS, in connection with the

assessment of FBAR civil penalties, recently directed its staff to only consider a co-owner’s

percentage ownership and not the entire balance of the account:

        Where there are multiple owners of an unreported foreign financial account, examiners
        must make a separate determination with respect to each co-owner of the foreign
        financial account as to whether there was a violation and, if so, whether the violation was
        willful or non-willful. For each co-owner against whom a penalty is determined, the
        penalty will be based on the co-owner’s percentage ownership of the highest balance of
        the foreign financial account.

See Memorandum from Heather C. Maloy, Commissioner, Large Business and International,

Karen M. Schiller, Commissioner, Small Business/Self-Employed, Sunita B. Lough,

Commissioner, Tax Exempt and Government Entities, Titled “Linda E. Stin: Deputy

Commissioner for Services and Enforcement, titled “Interim Guidance for Report of Foreign

Bank and Financial Accounts (FBAR) Penalties” (May 13, 2015), available at

https://www.irs.gov/pub/foia/ig/spder/SBSE-04-0515-0025[1].pdf.

        We thus respectfully request that the Court consider this circumstance in evaluating the

advisory Guidelines. 14

                 2.       The Guidelines Calculated Under U.S.S.G. § 2S1.3 Bear no Relationship
                          to the Tax Loss Associated With the Offense Conduct

        An additional mitigating factor should also be weighed: strict application of U.S.S.G. §

2S1.3, as opposed to U.S.S.G. § 2T4.1, would mean that the advisory Guidelines range would

bear no relationship to the tax loss associated with the offense conduct.

        Although Chapter Two, Part T ordinarily governs tax offenses, Part T does not apply here

because, per U.S.S.G. § 2S1.3(c)(1), the Guidelines range under U.S.S.G. § 2T1.1 is not “greater



14
         We are not aware of any reported FBAR case in which a defendant’s interest in a foreign account
constituted a minority fraction of the entire value of the account.


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than that determined” under U.S.S.G. § 2S1.3. More specifically, unpaid tax here (federal, state

and city) in 2010 and 2011 amounts to $66,953, corresponding to a 14-level increase under

U.S.S.G. § 2T4.1(E). Assuming application of the “sophisticated means” adjustment under

U.S.S.G. § 2T1.1(b)(2), and the three-level downward adjustment under U.S.S.G. § 3E1.1, the

adjusted offense level under U.S.S.G. § 2T1.1, if applied, would have been 13, yielding an

advisory Guidelines range of 12 to 18 months.

       The stipulated Guidelines calculation posits that the offense was committed for the

purposes of violating the tax laws. Under the plea agreement, a 2-level increase is provided for

under U.S.S.G. § 2S1.3(b)(2), based on a “pattern of unlawful activity,” here, tax law violations.

As such, there would appear to be no policy reason under the Guidelines why § 2T1.1 would not

apply. Moreover, we have not identified any reasoning on the part of the Sentencing

Commission for the decision to except a tax case from application of § 2T1.1 where the § 2T1.1

calculation is less than the range calculated under § 2S1.3. Common sense would appear to

dictate otherwise, namely, that an FBAR case linked to one or more tax law violations should

bear a relationship to tax loss and thus be governed by the tax Guideline.

       E.       A Sentence of Probation Would be Consistent With the Goal of Avoiding
                Unwarranted Sentencing Disparities

       A non-custodial sentence in this case would also promote the avoidance of “unwarranted

sentencing disparities among defendants with similar records who have been found guilty of

similar conduct.” 18 U.S.C. Section 3553(a)(6); see also 28 U.S.C. § 991(b)(1)(B) (purposes of

Sentencing Commission include “avoiding unwarranted sentencing disparities among defendants

with similar records who have been found guilty of similar criminal conduct while maintaining

sufficient flexibility to permit individualized sentences when warranted by mitigating or

aggravating factors not taken into account in the establishment of general sentencing practices”).

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In offshore account reporting cases across the country, sentencing courts, including in the

Southern District of New York, have regularly imposed non-custodial sentences, even where the

offense conduct involved higher tax losses and/or unreported accounts containing more assets

than at issue here.

         As reflected in Exhibit 1, 15 we have identified 75 criminal cases brought against offshore

accountholders nationwide. In 47 of these cases (approximately 63%), a non-custodial sentence

was imposed, and in 28, imprisonment was imposed in a range of 1 day to 21 months. Of the 28

defendants who were sentenced to imprisonment, 22 involved tax losses greater than the $66,953

in issue here. With the exception of two cases, in which we could not determine the maximum

account value, all of the remaining 26 of 28 cases involved undeclared assets abroad greater than

Artur’s 25% of the funds in issue here. Moreover, of the 28 defendants sentenced to

imprisonment, 20 had Guidelines ranges greater than the 12-18 months that would have applied

had Artur placed his funds in a solely owned foreign account. See supra at 12-14.

         Among the defendants who received non-custodial sentences were:

     •   George Briguet, who was charged in the United States District Court for the Eastern
         District of New York, 15-cr-0050. Briguet’s offense involved a tax loss of $169,935, and
         he had an undeclared account at UBS that held approximately $4.5 million. When
         confronted with evidence of his account at UBS, Briguet lied twice, once to the IRS
         Revenue Agent and again to an IRS Special Agent, denying that he had any foreign
         accounts. 16

15
         Exhibit 1 is based on public information, including docket sheets, sentencing submissions, and judgments
information, concerning sentences imposed on offshore accountholder defendants who pleaded guilty. These pleas
concerned only offshore account charges and thus excludes (a) cases charging the enabling of offshore tax reporting
violations against, among others, bankers and lawyers, see, e.g., United States v. Bachmann, 11-cr-00095 (E.D.Va.);
and (b) cases charging criminal conduct more extensive than the failure to file FBARs, see, e.g., Government’s
Sentencing Memorandum, at 3-4, United States v. Doane, 12-cr-00630 (S.D.N.Y.) (charging an unreported business
income scheme in connection with Doane’s home renovation business). Because motions pursuant to U.S.S.G. §
5K1.1 are not always readily apparent from docket review, where applicable, Exhibit 1 identifies our grounds for
concluding that such a motion was or was not filed.
16
       Government’s Memorandum in Aid of Sentencing, at 4-5, United States v. Briguet, 15-cr-00050 (E.D.N.Y.)
(ECF No. 19).


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       •   Peter Canale, who was charged in this District. Canale’s offense involved a tax loss of
           $323,227, and had an undeclared account that contained at least $700,000. 17 “Canale’s
           undeclared account at Wegelin was opened in the name of a sham foundation organized
           under the laws of Liechtenstein, called the Janara Foundation.” 18

       •   Albert Cambata, who was charged in the United States District Court for the Eastern
           District of Virginia, was sentenced to one-year of unsupervised probation, a fine of
           $15,000, and restitution of $84,849. Cambata’s offense involved a tax loss of $84,849,
           and he had an undeclared account that contained at least $12 million. Cambata used a
           Hong Kong nominee entity to hold $12 million at a Swiss bank, and did not file a tax
           return at all for years 2010, 2011, and 2012. 19

       •   Gustavo Gardellini, who was charged in the United States District Court for the District
           of Columbia, 06-cr-335. Gardellini’s offense involved a tax loss of $94,116 and he had
           an undeclared account that contained at least $350,000. Gardellini worked for Esprit
           Telecom, where, as part of his compensation, he received shares in Esprit Telecom. In
           connection with one of the stock grants he received, he caused to be transferred $350,000
           worth of stock in Esprit Telecom to a friend. At Gardellini’s request, the friend sold the
           shares of stock and transferred the $350,000 in proceeds to Gardellini’s account at
           Barclays Bank, Jersey, Channel Islands. In addition to not filing an FBAR, Gardellini did
           not report the proceeds from the sale of his Esprit stock on his personal tax return. 20

       •   Wolfgang Roessel, who was charged in the United States District Court for the Southern
           District of Florida, 12-cr-60074. Roessel’s offense involved a tax loss of $312,803, and
           he had undeclared foreign accounts that contained over $10 million. “In 2002, Roessel
           opened a UBS numbered investment account in the nominee name of a foreign entity,
           Neptune Trust, with an opening balance of approximately $4-5 million. In around 2004,
           this account and subaccounts were transferred into the nominee name of another foreign
           entity, Cyan United, and traded in U.S. and foreign securities.” 21 “In 2008 and 2009,



17
           Government’s Sentencing Memorandum, at 2-5, United States v. Canale, 14-cr-713 (S.D.N.Y.) (ECF No.
39).
18
         Press Release, U.S. Attorney’s Office, Southern District of New York, Kentucky Resident Pleads Guilty In
Manhattan Federal Court To Hiding Hundreds Of Thousands Of Dollars In Secret Swiss Bank Accounts (August 5,
2015), available at https://www.justice.gov/usao-sdny/pr/kentucky-resident-pleads-guilty-manhattan-federal-court-
hiding-hundreds-thousands.
19
           Position of the United States on Sentencing, at 2-3, United States v. Cambata, 15-cr-362 (E.D.Va.) (ECF
No. 17).
20
           Statement of Facts, at 1-2, United States v. Gardellini, 06-cr-355 (D.D.C.) (ECF No. 7).
21
        Press Release, U.S. Attorney’s Office, Southern District of Florida, South Florida Retired Businessman
Pleads Guilty to Failing to Disclose Assets Held in Swiss Banks (May 30, 2012), available at


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           during which period the defendant was aware of the government’s grand jury
           investigation into his foreign UBS accounts, the defendant disclosed only the existence of
           the UBS accounts on his tax returns for those years and did not report” his interest in
           accounts at “another Swiss bank.” 22

     •     Ty Warner, who was charged in the United States District Court for the Northern District
           of Illinois, 13-cr-731. Warner, the creator of Beanie Babies, was charged with a tax loss
           of $5,594,877, and he had undeclared foreign accounts that contained over $100 million.
           One of Warner’s accounts was at Zuercher Kantonalbank, and rather than open the
           account in his own name, “Warner opened the account in the name of a purported
           Liechtenstein entity, the ‘Molani Foundation,’ which effectively concealed his identity as
           the account holder.” 23

     •     Jacques Wajsfelner, who was charged in this District. Wajsfelner’s offense involved a
           tax loss of $419,940, and he had an undeclared account that contained at least $5.5
           million. Wajsfelner opened an account at Credit Suisse “in the name of a sham
           corporation formed under the laws of Hong Kong, Ample Lion Ltd. . . . to obscure his
           ownership of the assets in the account from the IRS.” 24 When Credit Suisse exited the
           U.S. cross-border banking business, Wajsfelner transferred the assets in his account at
           Credit Suisse to another undisclosed account at Wegelin & Co. 25 When Wajsfelner was
           confronted by Special Agents of the Internal Revenue Service, Criminal Investigation
           Division, with evidence of his ownership of foreign bank accounts, he “blatantly” lied. 26




https://www.justice.gov/opa/pr/south-florida-retired-businessman-pleads-guilty-failing-disclose-assets-held-swiss-
banks.
22
           Id.
23
         Press Release, U.S. Attorney’s Office, North District of Illinois, H. Ty Warner Sentenced To Probation
After Paying $80 Million In Taxes And Penalties For Tax Evasion On Funds Hidden In Secret Swiss Bank Accounts
(January 14, 2014), available at https://www.justice.gov/usao-ndil/pr/h-ty-warner-sentenced-probation-after-paying-
80-million-taxes-and-penalties-tax-evasion.
24
         Press Release, U.S. Attorney’s Office, Southern District of New York, Massachusetts Man Sentenced In
Manhattan Federal Court For Hiding Millions From IRS In Swiss Bank Accounts (March 5, 2013), available at
https://www.justice.gov/usao-sdny/pr/massachusetts-man-sentenced-manhattan-federal-court-hiding-millions-irs-
swiss-bank.
25
           Id.
26
           Government’s Sentencing Memorandum, at 2-3, United States v. Wajsfelner, 12-cr-641 (S.D.N.Y.) (ECF
No. 10).



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None of the above-listed defendants were the subject of a 5K1.1 motion, the conduct of each was

associated with a higher tax loss than here, and each held more assets in the unreported account

than here.

        Even where defendants have received custodial sentences, see Exhibit 1, such sentences

have been substantially below the applicable advisory Guidelines ranges. Of the 28 defendants

who received custodial sentences, only 3 were sentenced within the applicable Guidelines range;

the remaining 25 were sentenced below the range. For example, Michael Reiss, whose case

involved a tax loss of more than $400,000, was sentenced to one day of imprisonment where the

Guidelines range called for between 30 and 37 months’ imprisonment. 27 Kenneth Heller, whose

tax loss figure was greater than $400,000, 28 was sentenced to 45 days’ imprisonment where the

Guidelines range called for between 30 and 37 months’ imprisonment. 29

        As a general matter, where sentences in these cases have exceeded 6 months, special

factors appear to have been at work. For example, Judge Chin sentenced Federico Hernandez to

a term of imprisonment of 1 year and 1 day. Hernandez, whose guidelines range was calculated

based on a tax loss of $84,000, actually, according to the Government caused a tax loss of

$510,193. 30 Hernandez also maintained accounts that contained approximately $8.8 million, and



27
         Government’s Sentencing Memorandum, at 8, United States v. Reiss, 11-cr-668 (S.D.N.Y.) (ECF No. 16).
Reiss opened an undisclosed foreign account in the name of Floranova Foundation, a “sham foundation” formed
under the laws of Liechtenstein, to “obscure[] his ownership of the assets in the account from the IRS.” Press
Release, U.S. Attorney’s Office, Southern District of New York, New Jersey Doctor and Medical Professor
Sentenced in Manhattan Federal Court for Failing to Inform the IRS of Millions in Swiss Bank Accounts (January
11, 2012), available at https://www.justice.gov/archive/usao/nys/pressreleases/January12/reissmichael
sentencing.html.
28
        Plea Agreement, at 2-3, United States v. Heller, 10-cr-388 (S.D.N.Y.) (ECF No. 58 at Ex. G).
29
        Sentencing Memorandum, at 2, United States v. Heller, 10-cr-388 (S.D.N.Y.) (ECF No. 59).

30
        Sentencing Memorandum, at 3, United States v. Hernandez, 10-cr-334 (S.D.N.Y.) (ECF No. 11).



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under-reported his income in certain years to a degree that permitted him to “claim[] the Earned

Income Tax Credit,” resulting “in a net public assistance payment of $2,211 from the U.S.

Government.” 31 And, although UBS records showed that Hernandez “had a net worth of $20.2

million as of 2006,” he implausibly claimed to the Probation Department that he had a “negative

net worth.” 32 To cite another example, David Alan was sentenced to 21 months of

imprisonment, the longest sentence among the offshore account defendants that we have

identified. In his case, the tax loss was between $80,000 and $200,000. 33 He maintained a

foreign account that had a balance of $500,000. 34 Alan, who owned an optical partnership

business, formed a foreign corporation to “receive pretax moneys from Dr. Alan’s optometry

practice business in the guise of payments for supplies for that business.” 35 Though this scheme,

Alan underreported his income by staggering amounts. For calendar year 2001, Alan reported

income of $20,254 when, in fact, his income was $148,785. 36 For calendar year 2002, Alan

reported income of $38 when, in fact, his income was $242,740. 37 And, when he was confronted

about the evasion scheme, Alan lied to IRS agents. 38




31
        Sentencing Memorandum, at 6, United States v. Hernandez, 10-cr-334 (S.D.N.Y.) (ECF No. 11).
32
        Id. at 12.
33
        Defendant’s Sentencing Memorandum, at 2, United States v. Alan, 10-cr-160 (W.D. Pa.) (ECF No. 56).
34
        Government’s Response to Defendant’s Sentencing Memorandum, at 13, United States v. Alan, 10-cr-160
(W.D. Pa.) (ECF No. 62).
35
        Id. at 4.
36
        Indictment, at 1, United States v. Alan, 10-cr-160 (W.D. Pa.) (ECF No. 56).
37
        Id. at 2.
38
        Government’s Response to Defendant’s Sentencing Memorandum, at 5, United States v. Alan, 10-cr-160
(W.D. Pa.) (ECF No. 62).



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        Moreover, non-custodial and below-Guidelines sentences in offshore account cases have

not been limited to defendants who pleaded guilty and accepted responsibility for their actions.

See United States v. Ahuja, 11-cr-135 (E.D. Wisc.) (ECF No. 203) (sentence of 3 years’

probation after a guilty verdict, where the tax loss was $967,944.66 and the guidelines range

called for incarceration of between 41 and 51 months 39); United States v. Desai, 11-cr-846 (N.D.

Cal.) (ECF No. 288) (sentence of 6 months’ imprisonment after a guilty verdict, where the tax

loss was $378,099, the “value of funds” was $19,346,801.60, and the guidelines called for

incarceration of between 78 and 97 months 40).

        Based on the above sample, as further elaborated in Exhibit 1, a non-custodial sentence

here would be entirely consistent with past sentences imposed on defendants who, broadly

speaking, are similarly situated to Artur.

        F.      Neither Specific Nor General Deterrence Will Be Served by a Custodial
                Sentence

        In the circumstances of this case and this defendant, we respectfully submit that a non-

custodial sentence would serve the purpose of specific deterrence. The multi-year investigation

culminating in this prosecution, and the prospect of a sentence of imprisonment, has caused

considerable stress on Artur, his family and his business partners and friends. 41 There is no

realistic prospect of recidivism on Artur’s part given these consequences.


39
        See Government’s Sentencing Memorandum, at 1, 22, United States v. Ahuja, 11-cr-135 (E.D. Wisc.) (ECF
No. 194).
40
        Government’s Sentencing Memorandum, at 8, 10, 20, United States v. Desai, 11-cr-846 (N.D. Cal.) (ECF
No. 279).

41
         See Plea Hearing Transcript (Jan. 11, 2016) (“THE COURT: Are you now or have you recently been under
the care of a doctor or a psychiatrist? THE DEFENDANT: Recently. Six months ago. THE COURT: I think at
the time you waived indictment you indicated that you were being treated for anxiety. THE DEFENDANT: That's
correct. THE COURT: I said then, I'll say now, under your life circumstances right now you have reasons to be
anxious. Notwithstanding that, do you think you understand what’s going on relative to your plea? THE
DEFENDANT: Absolutely.”)

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       In addition, the financial consequences of Artur’s conviction -- the FBAR civil penalty,

back-taxes, interest, and applicable civil fraud penalties -- will consume a very substantial

portion of Artur’s net worth and far exceed the amounts of his money involved in this offense.

These devastating financial results provide another strong element of specific deterrence.

       Mr. Melentin’s status as a felon also carries a risk that that his businesses will lose future

opportunities to the extent that background checks report his criminal conviction. And, he will

be subject to the social opprobrium that comes with his criminal status.

       Finally, the letters submitted with this Memorandum from Artur’s family and friends

provide insight into his character, reflection on the instant episode and the shame that he feels.

Nothing in these letters suggests that he will re-offend.

       A sentence of imprisonment is also unnecessary to further the objective of general

deterrence. See United States v. Gardellini, 545 F.3d 1089, 1095 (D.C. Cir. 2008) (rejecting

government’s contention that affirming a probationary sentence imposed in criminal tax case

would lessen deterrent value of criminal law “because it elevates one § 3553(a) factor –

deterrence – above all others. As § 3553(a) makes clear, the district court at sentencing must

consider and balance a number of factors – not all of which will point in the same direction.”);

United States v. Tomko, 562 F.3d 558, 563 (3d Cir. 2008) (en banc) (affirming a sentence of

probation, community service, restitution, and fine for a tax evasion conviction, and rejecting the

government’s argument that “failure to incarcerate [the defendant] would send a message that a

rich defendant can buy his way out of prison, and would compromise the general deterrent effect

that tax laws have on potential tax cheats.”). Noncustodial sentences are common in FBAR

cases, see supra, and this has not detracted from general deterrence. The mere prosecution of




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cases in the criminal system has a strong effect on general deterrence. As the government has

explained:

       In addition to the specific deterrence that results from the Division’s enforcement efforts
       in connection with unreported foreign financial accounts, these prosecutions have
       triggered remarkable general deterrence. The publicity surrounding the Tax Division’s
       enforcement efforts, operating alongside the Internal Revenue Service’s Offshore
       Voluntary Disclosure Initiatives, have resulted in an unprecedented number of taxpayers -
       over 38,000 since 2009 – voluntarily disclosing to the IRS their previously hidden foreign
       accounts and agreeing to pay billions of dollars in back taxes, interest and penalties to the
       U.S. Treasury. As a result, these enforcement efforts not only remedy past wrongdoing,
       but also bring into the system tax revenue from taxpayers who become compliant going
       forward.

“Offshore Compliance Initiative,” https://www.justice.gov/tax/offshore-compliance-initiative.

           We respectfully submit that in view of the above, any incremental general deterrent

effect from a term of imprisonment in this case would be de minimis.

       G.        Available Sentences

       Although available to the Court, a sentence of imprisonment here would be more than

“necessary,” and could generate significant collateral consequences for Findr Group and its

employees. See Ex. 5. In lieu of such a sentence, we would respectfully request a sentence of

probation.

       The Supreme Court has explained that a probationary sentence serves as both a

punishment and a general deterrent because it substantially restricts the defendant’s liberty:

       We recognize that custodial sentences are qualitatively more severe than probationary
       sentences of equivalent terms. Offenders on probation are nonetheless subject to several
       standard conditions that substantially restrict their liberty. See United States v. Knights,
       534 U.S. 112, 119 (2001) (‘Inherent in the very liberty to which ever citizen is entitled.’)
       (quoting Griffin v. Wisconsin, 483 U.S. 868, 874 (1987)). Probationers may not leave the
       judicial district, move, or change jobs without notifying, and in some cases receiving
       permission from, their probation officer or the court. They must report regularly to their
       officer, permit unannounced visits to their homes, refrain from associating with any
       person convicted of a felony, and refrain from excess drinking. U.S.S.G. § 5B1.3. Most
       probationers are also subject to individual ‘special conditions’ imposed by the court. 552
       U.S. at 48 (footnote omitted).

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Gall v. United States, 552 U.S. 38, 48-49 (2007).

       Such restrictions would be meaningful here, because they would serve as a continuing,

strong reminder to this defendant of his errors. Moreover, a sentence of probation would serve

the salutary purpose of permitting Artur to continue without interruption to lead and contribute to

the business to which he is so central; would allow him to earn additional money to complete any

payments and penalties to the IRS; and would permit him to continue his good works on behalf

of community causes, all without detracting from the goal of deterrence in the arena of FBAR

reporting enforcement.

II.    REQUEST FOR SENTENCE OF PROBATION

       For the reasons discussed above and in the sentencing letters submitted herewith, we

respectfully request that this Court impose a non-custodial sentence.


Dated: May 16, 2016                                   Respectfully submitted,
       New York, New York


                                                      PETRILLO KLEIN & BOXER LLP



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